              Case 2:18-cv-00420-NBF Document 19 Filed 07/17/18 Page 1 of 1



                               IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


LISA INZINGA,                                     )
                                                  )
                                                  )
                                                  )
                  Plaintiff(s)                    )
         v.                                       )    Civil Action No. 2:18-cv-420
CITIMORTGAGE, INC.,                               )
                                                  )
                                                  )
                                                  )
                  Defendant(s)                    )


                                         REPORT OF NEUTRAL


A   MEDIATION            session was held in the above captioned matter on   JULY 17, 2018    .

The case (please check one):
       XXX   has resolved
             has resolved in part (see below)
             has not resolved.

The parties request that a follow up conference with the Court should be scheduled within
_____ days.


If the case has resolved in part, please indicate the part that has resolved and/or the
claim(s)/parties that remain.




Dated:   JULY 17, 2018                            _____________________________________
                                                  Signature of Neutral

                                                                                             Rev. 09/11
